 Case 1:22-cv-00582-RGA Document 10 Filed 10/13/22 Page 1 of 2 PageID #: 99




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 QUANTUM TECHNOLOGY                            :
 INNOVATIONS, LLC,                             :
                                               :
                       Plaintiff,              :
                                                             Case No. 22-582-RGA
                                               :
        v.                                     :
                                               :
                                                          JURY TRIAL DEMANDED
 THE CRITERION COLLECTION INC.,                :
                                               :
                       Defendant.              :
                                               :

             NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41

       Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff Quantum

Technology Innovations, LLC hereby respectfully gives notice that this action is voluntarily

dismissed without prejudice. Defendant The Criterion Collection Inc. has not served an answer or

motion for summary judgment or otherwise responded to the Complaint (D.I. 1) in this action.


 Dated: October 13, 2022                      Respectfully submitted,

                                              /s/ John C. Phillips, Jr.
                                              John C. Phillips, Jr. (#110)
                                              David A. Bilson (#4986)
                                              PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                              1200 North Broom Street
                                              Wilmington, Delaware 19806
                                              (302) 655-4200
                                              jcp@pmhdelaw.com
                                              dab@pmhdelaw.com

                                              Of Counsel:
                                              Shea N. Palavan
                                              PALAVAN & MOORE, PLLC
                                              5353 West Alabama Street, Suite 303
                                              Houston, Texas 77056
                                              4590 MacArthur Boulevard, Suite 500
                                              Newport Beach, California 92660
                                              Telephone: (832) 800-4133
                                              Facsimile: (855) PALAVAN (725-2826)
Case 1:22-cv-00582-RGA Document 10 Filed 10/13/22 Page 2 of 2 PageID #: 100




                                    shea@houstonip.com

                                    Attorneys for Plaintiff,
                                    Quantum Technology Innovations, LLC




                                     2
